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UNITED sTATES OF AMERICA, WUS- P¢ST§}`?}C§ISIHT
, 1

Plaintiff,
vs. CR. NO. 04-20342-Ma

CHRISTOPHER HOWARD ,

~.._,4\_¢~..__¢~../\_,/\,~..¢~.¢\_¢

Defendant.

 

ORDER ON CONTIN`UANCE AND SPECIFYING PERIOD OF EX.CLUDABLE DEL.A.Y

 

This cause came on for' a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the continued mental treatment of defendant.

The Court granted the request and continued the trial
date to the rotation docket beginning November 7, 2005 at 9:30
a.m., with a report date of Friday, October 28, 2005 at 2:00 p.m.

The period from July 22, 2005 through November 18, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h)(8)(B)(iv) and 3161(h)(l)(A)
because the interests of justice in allowing for additional time to
prepare and the mental treatment of the defendant outweigh the need
for a speedy trial.

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IT IS SO ORDERED this day of August, 2005.

JM/~/L_.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

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This notice confirms a copy ot` the document docketed as number 32 in
case 2:04-CR-20342 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

